Case 1:17-cv-00394-WES-LDA      Document 57-3     Filed 03/10/22   Page 1 of 12 PageID
                                     #: 1494



   UNITED STATES DISTRICT COURT
   FOR THE DISTRICT OF RHODE ISLAND

   U.S. BANK N.A AS TRUSTEE
   FOR THE REGISTERED HOLDERS
   OF THE STRUCTURED ASSET
   SECURITIES CORPORATION, STRUCTURED
   ASSET INVESTMENT LOAN TRUST
   MORTGAGE PASS-THROUGH
   CERTIFICATES, SERIES 2003-BC11


                      VS                         CA: 17-CV-394 WES

   MASOUND SHAKOORI ET AL


       FIRST SET OF REQUEST FOR ADMISSIONS TO PLAINTIFF


         Defendant Masoud Shakoori requests that Plaintiff, U.S. Bank, N.A. as

   Trustee (“US Bank”) admit or deny the following statements.

   Pursuant to FRCP 36, said statements shall be deemed admitted unless denied

   or objected to within 30 days of service thereon.

            INSTRUCTIONS TO REQUESTS FOR ADMISSIONS

         1. These requests for admissions are directed toward all information
            known or available to you, including information contained in the
            records and documents in your custody or control or available to
            you, upon reasonable inquiry. Your answer to each request for
            admission shall specifically deny the matter, or set forth in detail the
            reasons why you cannot truthfully admit or deny the matter. Where
            requests for admissions cannot be answered fully, they shall be
            answered as completely as possible and incomplete answers shall be
            accompanied by a specification of the reasons for the

                                          14
Case 1:17-cv-00394-WES-LDA        Document 57-3     Filed 03/10/22   Page 2 of 12 PageID
                                       #: 1495



               incompleteness of the answer and of whatever actual knowledge is
               possessed with respect to each unanswered request for admission.

            2. Each request for an admission is to be deemed a continuing one. If,
               after serving an answer to any request for admission, an authorized
               officer for obtains or becomes aware of any further information
               pertaining to that request for admission, the authorized officer for
               US Bank is requested to serve a supplemental answer setting forth
               such information.

            3. As to every request for an admission which an authorized officer for
               US Bank fails to answer in whole or in part, the subject matter of the
               admissions will be deemed confessed and stipulated as fact to the
               court.

   .
                    DEFINITIONS

    A. The term “Document” means all writings of any kind, including the
   originals and all other non-identical copies, whether different from the
   originals by reason of any notation made on such copies or otherwise,
   including but not limited to correspondence, memoranda, notes, diaries, desk
   or other calendars, statistics, letters, telegrams, minutes, business records,
   personal records, accountants' statements, account statements, contracts,
   reports, credit reports, studies, checks, statements, receipts, invoices, bills,
   return checks, summaries, pamphlets, books, inter-office and intra-office
   communications, notations of any sort of conversations or meetings,
   telephone call meetings or other communications, written agreements,
   bulletins, printed matter, computer printouts, teletypes, telefaxes, invoices,
   worksheets, all drafts, alterations, modifications, changes and amendments of
   any kind with respect to any of the foregoing, graphic or oral records or
   representations of any kind (including, without limitation, tapes, cassettes,
   discs, recordings, electronic mail records, computer memory records such as
   hard disk drives and master back-up tapes, diskettes, or other devices such as
   zip drive records).

       B. The term "act" as used herein includes acts of every kind and description.

   C. The term "identify" or "describe" when used in reference to a "document"
   means to state:
                                            15
Case 1:17-cv-00394-WES-LDA       Document 57-3    Filed 03/10/22     Page 3 of 12 PageID
                                      #: 1496




    a. The type of document (e.g., letter, memorandum, report, electronic mail
   records, notes, etc.);

    b. The date of the document;

    c. The name of the parties or parties who originated the document, their past
   or present position with the respondents, their general duties and
   responsibilities, their current physical location with the company, and their e-
   mail, telephone number and telephone extension;

    d. The name and address of the current custodian of the document;

    e. The name and current address of each signatory thereon;

    f. The reason, in detail, for the preparation of the document;

    g. The subject or subjects covered by the document;

    h. The names, business addresses and titles of the persons to whom the
   document writing was directed; and

    i. The name and address and title of each person who originated
   read or received the document.

    D. The term "identify" as used herein in connection with a "person" or
   "persons" means to state the names, titles, the present employer of such
   "person" or "persons," the relationship of such person or persons to the
   Plaintiffs, and such person's current business address and business telephone
   number.

    E. The term "identify" as used herein with respect to or in connection with
   an "act" means to:

     a. Furnish the date and place of the act;

    b. Identify the person acting, the person for whom the act was performed,
   and the person against whom the act was directed; and

    c. Describe in detail the act.
                                          16
Case 1:17-cv-00394-WES-LDA        Document 57-3   Filed 03/10/22   Page 4 of 12 PageID
                                       #: 1497




    F. The terms "describe" or "state" as used herein mean:

    a. Describe or state fully by reference to underlying facts rather than by
   ultimate facts or conclusions of law;

    b. Particularize as to the:

     i. Time;

     ii. Date;

     iii. Manner; and

     iv. Place.

    G. The term "oral communication" as used herein means and includes any
   face-to-face conversation, meeting, conference, telephone conversation, cell-
   phone conversation, computer conversation with voice mail, or any one for
   more of these or related devices.

   H. The term "person" or "persons" as used herein means and includes all
   natural persons, public and private corporations, associates,

   wholly owned affiliates or subsidiary corporations or any other form of a
   business association, and any other type of entity and the agents, employees,
   officers, deputies and representatives thereof.

    I. The terms "you" or "your" as used herein shall refer to the Plaintiff and
   any related or affiliated companies associated in any way therewith.

    J. All requests shall be deemed to include any documents made by, held by,
   or maintained in the files of any predecessor, successor, employee, agent or
   assignee of either one or all of the respondents.

    K. The term "the transaction" or "the transactions" or "account" or
   "accounts" when used herein without qualification means the transactions and
   accounts between or among the Defendant and the Plaintiff and all related
   activities and agents or assigns of either party.

                                          17
Case 1:17-cv-00394-WES-LDA      Document 57-3     Filed 03/10/22   Page 5 of 12 PageID
                                     #: 1498



    L.   “You” and “your” include US Bank and any one acting on your behalf.

         M. Option One Mortgage Corporation (“Option One) was the
   originating lender of Defendant’s loan.

         N.     US Bank Claims (“US Bank”) claims to own Defendant’s loan.

         O.     Wells Fargo Bank, N.A. (“Wells Fargo”) is a loan servicer.

         P.     American Home Mortgage Servicing, Inc.(“AHMSI”) was a loan
   servicer.

         Q.     Homeward Residential, Inc. (“Homeward Residential”) was a
   loan servicer.

         R.     Ocwen Loan Servicing, LLC (“Ocwen”) is a loan servicer.

          S.    Whenever the term “and/or” is used herein, the information
   called for should be set forth both in the conjunctive and disjunctive and
   wherever the information is set out in the disjunctive; it should be given
   separately for each and every element sought.

          T.    The term “you” means US Bank and its employees, agents,
   attorneys and any other persons acting on its behalf. When a request for
   production identifies or describes a document to be produced, such request
   shall mean all original writings of any nature whatsoever and all non-identical
   copies thereof in your possession, custody or control regardless of where
   located and includes, but is not limited to, all papers, books, documents,
   records, checks, files, writings, drawings, memoranda, letters (sent or
   received), contracts
   (including original documents), invoices, repair orders and/or tickets,
   purchase orders, photographs, discs, tape recordings of any sort and any log
   and/or transcript thereof, reports, studies, summaries, minutes, notes,
   agenda, bulletins, notices, announcements, instructions, charts, manuals,
   brochures, schedules, price lists, telegrams, teletypes, faxes, electronic data,
   emails, computer files, and any other documents, including drafts and all
   copies thereof where applicable. In all cases where original and/or non-
   identical copies are not available, the request includes identical copies of
   original documents and copies of non-identical copies.

                                          18
Case 1:17-cv-00394-WES-LDA       Document 57-3      Filed 03/10/22   Page 6 of 12 PageID
                                      #: 1499



        U.    The term “Trust” means Structured Asset Investment Loan Trust,
   2003-BC11.

         V.    The term “Property” refers to real estate located at 1541 Ted Rod
   Road, Exeter, Rhode Island.

         W.    The term “Loan” refers to the loan made on or about July 16,
   2003, by nominal lender, Option One to Defendant.

          X.    The term “Plaintiff” refers to US Bank and it shall be construed
   to mean not only the party answering in his, her, their and its own right, but
   shall also mean his, her, their and its agents, principals, advisors, attorneys or
   other representatives and all other persons acting on behalf of the answering
   party.

         Y.     The term “communication” means verbal, oral or
   written statements or comments, or correspondence, e-mails, or letters.

          Z.     The definitions referenced in the Trust Agreement, attached to
   these interrogatories is incorporated by reference. These definitions are
   located at the following weblink of the Securities and Exchange Commission
   from page 10 to page 47 of the Trust agreement:

   https://www.sec.gov/Archives/edgar/data/1269112/000116231803000493/m9
   1749.htm

        aa. DocX, LLC (“DOCX”)was a limited liability company located in
   Alpharetta, Georgia.

         bb.    Security Connections, Inc. (“SCI”) is an Idaho Corporation.


                REQUEST FOR ADMISSIONS

   1.          On December 15, 2008 , Option One was not owed any
   indebtedness under the Defendant’s note.

   2.           On December 15, 2008 Option did not own Defendant’s note.


                                           19
Case 1:17-cv-00394-WES-LDA     Document 57-3    Filed 03/10/22   Page 7 of 12 PageID
                                    #: 1500



   3.          On December 15, 2008 Option One did not own Defendant’s
   mortgage.

   4.           On December 15, 2008, La Salle Bank National Association as
   Trustee for Structured Asset Securities Corporation Structured Asset
   Investment Loan Trust Mortgage Pass-Through Certificates, Series
    2003-BC11(“LaSalle as Trustee” did not purchase Defendant’s
   Mortgage from any entity.

   5.           On December 15, 2008, La Salle Bank as Trustee
   did not purchase Defendant’s note from any entity.

   6.          La Salle as Trustee did not provide any consideration to any
   entity on December 15, 2008.

   7.            No entity with the name of Structured Asset Securities
   Corporation Structured Asset Investment Loan Trust Mortgage Pass-Through
   Certificates, Series 2003-BC11has ever existed.

   8.          La Salle Bank, National Association was never the trustee for
   Structured Asset Securities Corporation Structured Asset Investment Loan
   Trust Mortgage Pass-Through Certificates, Series 2003-BC11.

   9.         The purported assignment referenced as Exhibit 5 to the
   complaint was not signed by Linda Green.

   10.           The purported witness to the purported assignment referenced as
   Exhibit 5 to the complaint was not signed by Tywanna Thomas.

   11.          The purported notarization to the purported assignment
   referenced as Exhibit 5 to the complaint was not signed by Bailey Kirchner.

   12.       Exhibit A is a genuine and authentic copy of a complaint filed by
   AHMSI against DocX, LLC and Lender

   13.        Lender Processing Services, Inc. (“LPS”) was the parent
   company of DocX, LLC.

   14.         Linda Green was never an officer of AHMSI.

                                        20
Case 1:17-cv-00394-WES-LDA     Document 57-3    Filed 03/10/22   Page 8 of 12 PageID
                                    #: 1501



   15.          Exhibit B is a genuine and authentic copy of a Consent Order of
   the Board of Governors of the Federal Reserve System, the Federal
   Deposit Insurance Corporation, the Office of Comptroller of the Currency,
   the Office of Thrift Supervision, Lender Processing Services, Inc.,
   DocX, LLC and LPS Default Solutions, Inc., dated April 13, 2011.

   16.   Option One did not own Plaintiff’s mortgage on July 15, 2011.

   17. On March 18, 2009, an affidavit was filed in the United States
   Bankruptcy Court for the Eastern District of Louisiana in case number 07-
   11862.

   18. Exhibit C is a genuine and authentic of the affidavit referenced in
   Request for Admission 17.

   18.   The original of Exhibit C was signed by Dale Sugimoto.


   19.   Dale Sugimoto on March 18, 2009 was the President of Sand Canyon.


   20. On March 18, 2009 Sand Canyon did not own any residential real estate
   mortgages.


   21. On July 15, 2011 Option One did not own any residential real estate
   mortgages.


   22. On December 15, 2008 Option One did not own any residential real
   estate mortgages.


   23. On July 15, 2011, Sand Canyon did not own any residential real estate
   mortgages.


   24. On December 15, 2008 Sand Canyon did not own Defendant’s
   mortgage.


   25.   On December 15, 2008 Sand Canyon did not own Defendant’s note.

                                        21
Case 1:17-cv-00394-WES-LDA     Document 57-3    Filed 03/10/22   Page 9 of 12 PageID
                                    #: 1502



   26. La Salle Bank as Trustee did not provide any consideration to Sand
   Canyon for Defendant’s note on July 15, 2011.

   27. La Salle Bank as Trustee did not provide any consideration to Sand
   Canyon for Defendant’s mortgage on July 15, 2011.

   28. La Salle Bank as Trustee never purchased Defendant’s mortgage from
   Sand Canyon at any time.

   29. La Salle Bank as Trustee never purchased Defendant’s note from Sand
   Canyon at any time.


   30. La Salle Bank as Trustee did not provide any consideration for
   Defendant’s mortgage to Sand Canyon on July 15, 2011.


   31. Exhibit 6 to the complaint was not signed by an officer of Sand
   Canyon.

   32.   Tonya Hopkins was not an officer of Sand Canyon on July 15, 2011.

   33.   Tonya Hopkins was an employee of AHMSI on July 15, 2011.

   34. Tonya Hopkins did not sign the purported assignment dated July 15,
   2011.

   35. La Salle Bank National Association did not exist as an entity on
   February 22, 2013.

   36. La Salle Bank National Association merged with Bank of America,
   N.A. on October 17, 2008.

   37. On February 22, 2013, La Salle Bank National Association no longer
   existed as an entity.

   38. On February 22, 2013 La Salle Bank as Trustee did not own
   Defendant’s mortgage.

   39. La Salle Bank as Trustee never granted a power of attorney to
   Homeward Residential, Inc., authorizing it to sign an assignment of mortgage
                                        22
Case 1:17-cv-00394-WES-LDA     Document 57-3    Filed 03/10/22   Page 10 of 12 PageID
                                     #: 1503



    from La Salle Bank as Trustee to U.S. Bank National Association as Trustee
    for Structured Asset Investment Loan Trust, Mortgage Pass-Through
    Certificates, Series 2003-BC11 on February 22, 2013.

    40. U.S. Bank National Association was never a Trustee for an entity
    named Structured Asset Investment Loan Trust, Mortgage Pass-Through
    Certificates, Series 2003-BC11.

    41. There is no such entity named Structured Asset Investment Loan Trust,
    Mortgage Pass-Through Certificates, Series 2003-BC1.

    42. Pamela Stoddard was not an officer of Homeward Residential on
    February 22, 2013.


    43. Pamela Stoddard was never an officer of Homeward Residential on
    February 22, 2013.


    44. Pamela Stoddard was an employee of Security Connections, Inc. on
    February 22, 2013.


    45. Pamela Stoddard did not sign the purported assignment dated February
    22, 2013.

                                               Masoud Shakoori

                                               By his Attorney

    May 22, 2018
                                               /s/ John B. Ennis
                                               JOHN B. ENNIS, ESQ. #2135
                                               1200 Reservoir Avenue
                                               Cranston, RI 02920
                                               401-943-9230
                                               Jbelaw75@gmail.com




                                        23
Case 1:17-cv-00394-WES-LDA     Document 57-3     Filed 03/10/22   Page 11 of 12 PageID
                                     #: 1504



                             CERTIFICATION


          I hereby certify that I forwarded a copy of the above Request for
    Admissions to Plaintiff to the following electronically on this 22nd day of
    May, 2018:

    John McNicholas
    Walter Porr



                                                 /s/ John B. Ennis, Esq.




                                          24
Case 1:17-cv-00394-WES-LDA   Document 57-3   Filed 03/10/22   Page 12 of 12 PageID
                                   #: 1505




                                     25
